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.<Dm 05 500 002>050 505550505205 50055.5505
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.<Qm 05 500 “005>050 50050§ 0 ,50 5505505250> 50,5 055250@5005 2 0055505@ 5000:0>50< 02
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05050505 0>5000000 05 00000005 05055 550055 055500 0 500505550000 00.05550005
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